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                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA


  ROBERT FRANCIS POOLE,                              Case No. 24-cv-00006-RFL
                  Plaintiff,
                                                     ORDER OF DISMISSAL
            v.

  SAN MATEO COUNTY,
                  Defendant.



         Mail sent by the Court to Plaintiff was returned as undeliverable more than 60 days ago

because he is no longer in custody. (Dkt. No. 12.) Plaintiff has not provided an updated address

to the Court. Accordingly, this federal civil rights action is DISMISSED without prejudice,

because Plaintiff failed to keep the Court apprised of his current address pursuant to Civil Local

Rule 3-11(b) and because he failed to prosecute this matter, see Federal Rule of Civil Procedure

41(b).

         Because this dismissal is without prejudice, Plaintiff may move to reopen the suit and
have proceedings reinstated. Any motion to reopen must have the words MOTION TO

REOPEN written on the first page.

         The Clerk shall enter judgment in favor of Defendant and close the file.

         IT IS SO ORDERED.

Dated: December 18, 2024




                                                             RITA F. LIN
                                                             United States District Judge




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